s 4?1_$9'"""§¢"¢“€1`5€{~°§9!?.'5?“1€57"lifeil?`?_ ..," `

 

 

 

Case 2:17-cv-00198-D.]H Document 10 Filed 11/29/16 Page 1 of 3

.lodi slegner. Esq. (Bar No. 102884) _ _.`*\ .
DeCarlo & Shanley, a Professional Corporation ' 4
`533 S. Fremont Avenue Bth Floor

Los Angeles, CA 80071

(213) 488-4100

 

UNlTED STATES DlSTR|CT COURT
CENTRAL DlSTR|CT OF CALlFORNlA

CASENUMB‘EH
carpenters soumwe:c Adminisv»asve corporation etc.. el. al . 2=16'°"'°8°4°°““'“"‘(5*<*)

 

Pla|niifl‘(s) _
V- PROOF OF SERV|CE
H i( B lnc., ein., et al (uxs§£§lglmoofhlrw¢?ar?mpnm
Deiendarlt(s) . . '

 

 

1. At the time of service l was at least 18 years of age and not a party to this aclion and l served copies of the (specll§' documenis):

e. l:] summons l:l first amended complaint l:] third party complaint
complaint . m second amended complaint m counter claim
alias summons ij third amended complaint m cross claim

other (specify).°$ummons in a Civil Action; Certii‘ication and Notice of interested Parties; Notice ofAssignmentto Unlted
Staws Judges; Notice to Parl:ies of Court-Directed ADR Program ~

2. Person served:

a. § Defendant {name:) H K B |no., an An'zona oorporation. doing business as Soutl'lwest industrial Rigglng
b. lzl Ol.her (spacify name and title or relationship to the party/business named):
Dougias Hamiiton - Agentfor service of process
c. w Address where the papers were served: 7689 E. Paradise Larle, Suite 7
Scotl:sdale, AZ 85260 '
3. Manner of Service in compliance with fine appropriate box mustbs checked): ~

a. L__l l=ederal Rulae of civil Prooedure
b. iii california code of civil Procedure

a. 13 By Personal Service. By personally delivering copies. Ifihe person is a minor, by leaving copies with a parent1 guardian.
conservator or similariduciery and to the minor ii at least twelve (12) years of age. .
1. lzl Papers were served on {date): 11114}2016 at‘(time): 01 :38 pm
b. m By Substituted Service. By leaving copies: `

1. l:l (home) althe dwelling house, usual place of abcde. or usual place cf business of the person served in the presence of a
competent member of _the household. at least 18 years of age. who was inferran of the general nature of the papers.

2. l:\ (buslness) or a person appareme ln charge of the oche. or place of business at least 18 years of age. who was informed of
the general nature or° the papers.

3. l:l Papers were served on (date): at (lime):

4. L__l by mailing (by first-class mall, postage prepaid) copies to the person served in item 2(b) al the place where the copies were
left lrl item 2(c). ~

5. iii papers were r_naiied on Nov 15, 2016 - DECLARAT|ON OF MA|L|NG ATTACHED
6. l:i due diligence l made at least three (3) attempts to personally serve the defendant

c. m Nlail and acknowledgment of service. By mailing (by first-class rna/‘l or ainnal'l, postage prepai¢v copies to the person served,
with two (2) copies of the form of Waiver of Servlce of Su_mrnons._and Complaint and a return _envelope. postage prepaid
addressed to the sende'r. (Atlaoh completed Waiver of Serv_i¢_;e of summons and Complamt).

 

~ PAGEi
Cv-1 mnl¥) PROOF OF SERVICE SUMMON$ AND COMPLA!NT n

.. ._..- .._.._...-... .......--._...-....._ ., ~-_~.- _ ... ........... ._.. .. ¢_ .....» -~ _-»_~ ...-_. _____ ...._ .__ ..~...__ ...,_ ...._...__._._- ___ _.___._~_.__........_._.. _'.._-___-.-.,_

 

 

 

...._..._.;._.~¢-~._.__._._..___

CHS€ 2117-Cv-00198-DJH Documeni 10 Filed 11/29/16 pagezorg s___

d. Service on domestic corporation, unincorporated association (including partnership), or public enlity. (F.R.Civ.P. 4(h))
(C.C.P. 416.10) By dellvering, during usual business hours, a copy of the summons and complaint to an officer, a managing or
general agent. orto any other agent authorized by appointment or by law to receive service of process and, ifthe agent ls one
authorized by statute and the statute so requires, by also mailing, by first-class mail. postage prepaid, a copy to the defendant

e. l:l Substituted service on domestic corporation, unincorporated association (inc|uding parinersh|p], Or public entity.
(c.C.P. 415.20 only) By leaving during usual business hours, a copy of the summons and complaint in the ofnce of the person
sen/ed with the person who apparentlywas ln charge and thereafter by mailing (by first-class mail, postage prepald) copies of
the persons at the place where the copies were loftin full compliance with C. C. P. 415.20 Substltute service upon the California
Secretary of Slate requires a court order. (Atiach a copy of the order to this Proof of Service.)

f. l:l Service on a foreign corporation. in any manner prescribed for individuals by FRCP 4(f)

g. ij Certified or registered mail service. By mailing to an address outside Califomia (by first-class mail, postage prepald, requiring
a return receipij) copies to the person served. (Atlach signed return receipt or other evidence of actual receipt by the
person served

h. m Other (specify code section and type of service):
5. service upon the united sees and lis Agonoios, corporations or onioeis.

a. |:l by delivering a copy ofthe summons and complaint to the clarie-al employee designated by the U. S. Attomey authorized to
accept service. pursuant to the procedures for the Offlce of the U S. Atlomey for acceptance of service, or by sending a copy of
the summons and complaint by registered or certified mail addressed to the civil procecss clerk atthe U. S. Atiomeys Ol°fioa.

Name of person served:
'l”lile of person served:
Date and time of service: [date): at (time):

b n By sending a copy of the summons and complaint by registered or certified mail to the Attomey General of the Unlted States at
Washington. D. C. (Attach signed return receipt or other evidence of denial receipt by the person served). -

o. i:l By sending a copy of the summons and complaint _by registered or certili`ed mail to the ofr’icer, agency or corporation (Attach
signed return receipt or other evidence of actual receipt by the person served).

6. At the time of service l was at least 18 years of age and _not party to this aciion.

 
  

7. Person serving (n‘ame, address and telephone numbo)j: - _ ` ' a. Fee for servioe: $ 327.00
Ch°“a Fe Y°“"g ’ d Califomla recess server
Ail~N-One i_egai Support, lnc. b' E] N°t a registete _ _ p
._1545_wilshire B|vd, suite.7_15-. . - . - .. .- .c. l:l. EXer_lll;f from re§iSffl`HiIQ.l'l under B&P..Z?/§SQ(|>) ;
'~ LCS AngelSi~CA%oW ‘ ' ' ' . ` " ` . v ' d_ 1:\ Re'gisfered‘Califomia process server
(213? 202-3980 . ' - . RegiSb`aiiDn #17974 '
` ` _county. slate of'Arizona

B. i:l I am a Callfornia sherifi, marshal, or constable and l certify that the foregoing is true and correct.

l'declare under penalty of perjury that the foregoing is true end correct

Dale: November 17, 2016 C_i_i_lma@ Youno 2 : 5

Type or Print Server's Name _ ` (Signature)

 

PROOF OF SERV|CE ~ SUMMONS AN'D COMFLAINT

eva man o) ' PAGE 2
1 ome‘l 60065

........_ .. .._.,._.. _. ._._._.__~._...... _.......~. ._~_ -». ..»....~.. .--_. ,_.......»_.-.....- __ .. .. ,. ,`.....`. .-- .»~ . ~. .--...-.~-.-~. -¢ .._- -~¢~. _-~-.

 

_,_ ._ _..__._..-_._._..._ _ ._.__._.._.____._ .._._.__.._ ..__. ____ _.. ___ _._ _ _ .-_ _ ____ -___ __ __ __ _________ ___ ____. ____ .._ ____ ___ _

 

Case 2:17-cv-00198-D.]H Document 10 Filed 11/29/16 Page 3 of 3

FOR COURT USE ONLV

 

ATTORNEY OR PARTY WlTHOUT ATTGRNEY (Name. State Bar number. and address}
_ Jodi Siegner, Esq. (Bar No. 102884)

DeCarlo & Shanley, a Professional Corporaticn

533 S. Fremont Avenue Sth Flocr Los Angeles, CA 90071

'rel.ePrloNr-: No.: (213) 488-41 00 FAx No.(oprlonol).- (213) 488-4180

E-MAlL AooRess roprronol}:
A'rrcam;v Fon (Nomo).~ Plalntiff:

United States District Court - Centra| District of California
eriEr-:‘r AooREss: 312 N. SPRING ST. #G-8
MAlLlNc AooREss:
cmr mo zll> cope LOS ANGELES, CA 90012
enANcH NAME:
PLAlNTlFF/PETIT|ONER: Carpenters Southwest Administrative Corporation, etc., et. al

SBN: Bar No. 102884

 

 

CASE NUMBERZ

DEFENDANT/RESPONDENT: H K e lno., oio., oi, al 2=16-¢"~08040-MWF(SKX)
Ref. No. or File No.:

 

7079

 

 

PROOF OF SERV|CE BY MA|L

 

 

l am a citizen of the United States and employed in the County cf Los Ange|es, State cf California. | am over the age of 18
and note party to the within action. lViy business address is 1545 Wi|shire B|vd, Suite 715, Los Ange|es, CA 90017.

On November 15, 2016, after personal service under section CCP 415.20(a) or 415.20(b) or FRC|V.P 4(d)(1) Was made, l
mailed copies of the:

complaint;Summons in a Civil Action; Certification and Notice of interested Parties; Notice of Assignmentto United States
Judges; Notice to Parties of Court-Directed ADR Program

to the defendant in said action by placing a true copy thereof enclosed in a sealed envelope, with First Class postage thereon
fully prepaid, in the United States lVlail at Los Ange|es, Californial addressed as follows:

H K B lnc., an Arizona corporation, doing business as Southwest industrial Rigging
ATTENTlON: Douglas l-lamilton - Agent for service of process

7689 E. Paradise Lane Suite 7

Scottsdale, AZ 85260

l am readily familiar with the flrm's practice for collection and processing of documents for mailing. Under that practice it
would be deposited within the-United States Pcstai Service,l on-that same day, with postage lthereon fu||y. prepaid at l_os _

Ange|es, California in the ordinary course of business

Fee for Service: 327 . 00
' | declare under penalty of perjury under the laws of the

All-N~Qne I_-egal Support , Inc - Tne stare of california that the foregoing information
1545 Wllshlre Blvd- r # 715 contained in the return of service and statementh
L°S Angeles l CA 90017 service fees is true and correct and that this declaration
(213) 202"3990 was executed on Novem.ber 17 , 2016.

i
. SignatuMl/Y\ tZ/l/\ i/O

Kendall Carter

PROOF OF SERV|CE BY MA|L

Order#: 102236160065lmallprooi

